              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                January 7, 2019


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Room 24.329
St. Louis, MO 63102-1125


      Re: Ferguson Florissant School District
          v. Missouri State Conference of the National Association for the
          Advancement of Colored People, et al.
          No. 18-592
          (Your No. 16-4511)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk




Appellate Case: 16-4511    Page: 1     Date Filed: 01/07/2019 Entry ID: 4744725
                               United States Court of Appeals
                                       For The Eighth Circuit
                                       Thomas F. Eagleton U.S. Courthouse
                                       111 South 10th Street, Room 24.329
                                     St. Louis, Missouri 63102
                                                                              VOICE (314) 244-2400
Michael E. Gans
                                                                                FAX (314) 244-2780
 Clerk of Court
                                                                              www.ca8.uscourts.gov



                                         MEMORANDUM


TO:               Mr. Gregory J. Linhares

FROM:             Michael E. Gans, Clerk of Court

DATE:             January 10, 2019

RE:               16-4511 NAACP, et al v. Ferguson-Florissant

                  District Court/Agency Case Number(s): 4:14-cv-02077-RWS

____________________________________________________________________________

       Enclosed is a letter received from the United States Supreme Court stating that an order
has been filed denying certiorari in the above case.



AMT




   Appellate Case: 16-4511           Page: 1         Date Filed: 01/07/2019 Entry ID: 4744725
